Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 1 of 21 Page ID #:1



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 7
 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10   NATIONAL RIFLE ASSOCIATION              Case No:
     OF AMERICA; JOHN DOE,
11                                           COMPLAINT FOR
                             Plaintiffs,     DECLARATORY & INJUNCTIVE
12                                           RELIEF:
                 vs.                         (1) VIOLATION OF 42 U.S.C. § 1983
13                                           [FREE SPEECH];
     CITY OF LOS ANGELES, ERIC
14   GARCETTI, in his official capacity as   (2) VIOLATION OF 42 U.S.C. § 1983
     Mayor of City of Los Angeles;           [COMPELLED SPEECH];
15   HOLLY L. WOLCOTT, in her official       (3) VIOLATION OF 42 U.S.C. § 1983
     capacity as City Clerk of City of Los   [FREEDOM OF ASSOCIATION];
16   Angeles; and DOES 1-10,
                                             (4) VIOLATION OF 42 U.S.C. § 1983
17                           Defendants.     [FIRST AMENDMENT
                                             RETALIATION]
18                                           (5) VIOLATION OF 42 U.S.C. § 1983
19                                           [EQUAL PROTECTION].

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            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 2 of 21 Page ID #:2



 1                             JURISDICTION AND VENUE
 2         1.    This action arises under 42 U.S.C. § 1983 to redress the deprivation of
 3 rights secured by the United States Constitution. This Court has original jurisdiction
 4 over these federal claims under 28 U.S.C. § 1331 because the matters in controversy
 5 arise under the Constitution and laws of the United States, thus raising federal
 6 questions. The Court also has jurisdiction under 28 U.S.C. § 1343 because this action
 7 is brought to redress the deprivation, under color of state law, of federally secured
 8 rights, privileges, and immunities. The Court has authority to render declaratory
 9 judgments and to issue permanent injunctive relief under 28 U.S.C. §§ 2201 and
10 2202.
11         2.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because the
12 City of Los Angeles is located within the Central District of California, and all
13 incidents, events, and occurrences giving rise to this action occurred in Los Angeles
14 County, California.
15                                        PARTIES
16 I.      PLAINTIFF
17         3.    Plaintiff NATIONAL RIFLE ASSOCIATION OF AMERICA (“NRA”)
18 is a national membership organization, incorporated under the laws of the state of
19 New York, and designated as a 501(c)4 non-profit corporation by the Internal
20 Revenue Service. NRA was founded in 1871 on the principle that individual rights
21 are best safeguarded by the guarantee of the Second Amendment. NRA a rich history
22 of providing instruction on firearm safety, as well as engaging in civil rights
23 advocacy that benefits millions across the country. Every year, NRA provides
24 firearm safety trainings, competitive shooting events, hunting programs, youth and
25 women’s programs, and informative membership updates. NRA trains tens of
26 thousands of certified gun safety trainers in all types of disciplines and works with
27 many law enforcement organizations across the country. NRA is a voice for those
28 that choose to lawfully own and possess a firearm and diligently works to protect that
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           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 3 of 21 Page ID #:3



 1 right. And, on behalf of its millions of members and supporters, NRA advocates for
 2 the preservation of the right to keep and bear arms by supporting or opposing
 3 legislation with the potential to impact its members’ civil rights.
 4         4.     NRA’s members are comprised of individuals and businesses, including
 5 Plaintiff Doe, that presently have or seek to obtain contracts with the City of Los
 6 Angeles to provide goods or services. Under Ordinance No. 186000, the local
 7 ordinance challenged in this lawsuit, these members are required to disclose any
 8 sponsorship of or contract with Plaintiff NRA. NRA brings this suit on behalf of its
 9 members.
10         5.     NRA also brings this suit on its own behalf—as the entity targeted by
11 Ordinance No. 186000 and by Defendants who view NRA with disdain. Should
12 Defendants succeed in cutting off revenue streams necessary for NRA to continue
13 engaging in protected speech and association, NRA will have been drained of its
14 financial resources and been harmed in its ability to fulfill its mission to protect and
15 preserve the right to keep and bear arms.
16         6.     Plaintiff JOHN DOE operates a business with multiple contracts with the
17 City of Los Angeles. He also seeks to continue bidding for and obtaining such
18 contracts in the future. Doe is a member and supporter of the NRA and its mission to
19 protect against infringement of Second Amendment rights. Doe supports advocacy
20 efforts against gun control through his business and efforts to promote membership
21 within the NRA.
22         7.     Many NRA supporters, who are or seek to be contractors with the City
23 of Los Angeles, are afraid to come forward to participate in this action for fear of
24 retribution from the City. Indeed, Plaintiff Doe participates in this action as a Doe
25 participant because he reasonably fears retribution from the City and the potential
26 loss of lucrative contracts should Doe’s identity be known.
27 II.     DEFENDANTS
28         8.   Defendant CITY OF LOS ANGELES is a municipal corporation within
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 4 of 21 Page ID #:4



 1 the state of California that enacted and enforces Ordinance No. 186000 (Los Angeles
 2 Administrative Code art. 26, ch 1, div. 10). The City has a population of over four
 3 million people and is one of the largest metropolitan areas in the country.
 4         9.    Defendant ERIC GARCETTI is the Mayor of the City of Los Angeles.
 5 He was first elected mayor in 2013 and was re-elected to a second term in 2017.
 6 Defendant Garcetti signed Ordinance No. 186000 into law and is responsible for
 7 ensuring its enforcement. He is sued in his official capacity.
 8         10.   Defendant HOLLY L. WOLCOTT is the City Clerk and responsible for
 9 the posting of all ordinances and the keeper of all recorded action on behalf of the
10 City. She is sued in her official capacity.1
11         11.   The true names or capacities, whether individual, corporate, associate or
12 otherwise of the Defendants named herein as Does 1-10, are presently unknown to
13 Plaintiffs, who therefore sue said Defendants by such fictitious names. Plaintiffs pray
14 for leave to amend this Complaint to show the true names or capacities of these
15 Defendants s if and when the same have been determined.
16                              GENERAL ALLEGATIONS
17 I.      THE FIRST AMENDMENT RIGHTS OF FREE SPEECH AND ASSOCIATION
18         12.   The First Amendment of the United States Constitution provides that
19 “Congress shall make no law . . . abridging the freedom of speech.” U.S. Const.,
20 amend. I. The Freedom of Speech Clause is incorporated and made applicable to the
21 states and their political subdivisions by the Fourteenth Amendment to the United
22 States Constitution.
23         13.   The First Amendment does not tolerate the suppression of speech based
24 on what some may label an unpopular viewpoint of the speaker. John J. Hurley and
25 S. Boston Allied War Vets. Council v. Irish-Am. Gay, Lesbian & Bisexual Group of
26 Boston, 515 U.S. 557 (1995). (“While the law is free to promote all sorts of conduct
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28           Unless otherwise noted, Defendants the City of Los Angeles, Eric Garcetti,
     and Holly L. Wolcott are referred to hereafter as “the City.”
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            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 5 of 21 Page ID #:5



 1 in place of harmful behavior, it is not free to interfere with speech for no better reason
 2 than promoting an approved message or discouraging a disfavored one, however
 3 enlightened either purpose may strike the government.”)
 4         14.   As the Supreme Court recognized in West Virginia State Board of
 5 Education v. Barnette, 319 U.S. 624, 642 (1943), “no official, high or petty, can
 6 prescribe what shall be orthodox in politics, nationalism, religion, or other matters of
 7 opinion or force citizens to confess by word or act their faith therein.” Indeed, the
 8 right to hold one’s personal “beliefs and to associate with others of [like-minded]
 9 political persuasion” lies at the heart of the First Amendment. Elrod v. Burns, 427
10 U.S. 347, 356 (1976).
11         15.   Thus, when the government makes inquiries about citizens’ beliefs or
12 associations, those inquiries are limited by the First Amendment. Baird v. State Bar
13 of Ariz., 401 U.S. 1, 6-7 (1971) (holding that “a heavy burden lies upon [the
14 government] to show that the inquiry is necessary to protect a legitimate state
15 interest”). But no matter what, the government “may not inquire about a man’s views
16 or associations solely for the purpose of withholding a right or benefit because of
17 what he believes.” Id. at 7.
18         16.   The same principle applies to conditions on government contracts. See,
19 e.g., Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 217 (2013)
20 (holding that the government cannot require organizations to adopt a policy opposing
21 prostitution as a condition of receiving government funds). Indeed, any attempt to
22 penalize a government employee or contractor for their beliefs or associations
23 violates the First Amendment, unless the nature of the goods or services provided
24 “requires political allegiance.” Jantzen v. Hawkins, 188 F.3d 1247, 1251 (10th Cir.
25 1999) (applying this test to employees); see also O’Hare Truck Serv., Inc. v. City of
26 Northlake, 518 U.S. 712, 726 (1996) (applying same test to government contractors).
27         17.   The First Amendment also protects against government compulsion of
28 speech, for the right to speak and the right to refrain from speaking “are
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           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 6 of 21 Page ID #:6



 1 complementary components of the broader concept of individual freedom of mind.”
 2 Wooley v. Maynard, 430 U.S. 705, 714 (1977).
 3         18.    Government compelled speech is presumptively unconstitutional when
 4 it burdens speech by demanding that speakers disclose that which they might be
 5 reluctant to disclose, thus deterring them from engaging in speech. McIntyre v. Ohio
 6 Elecs. Comm’n, 514 U.S. 334, 341-42 (1995). Indeed, “the First Amendment requires
 7 that the State not dictate the content of speech absent necessity, and then, only by
 8 means precisely tailored.” Tex. State Troopers Ass’n v. Morales, 10 F. Supp. 2d 628
 9 (N.D. Tex. 1998).
10         19.    The First Amendment also protects the right to freely associate with
11 others to advance one’s beliefs without fear of government reprisal. NAACP v. State
12 of Alabama ex rel. Patterson, 357 U.S. 449 (1958); see also Nat’l Rifle Ass’n of Am.,
13 Inc. v. City of S. Miami, 774 So. 2d 815 (Fla. Dist. Ct. App. 2000). Indeed, the
14 Supreme Court has recognized that “[e]ffective advocacy of both public and private
15 points of view, particularly controversial ones, is undeniably enhanced by group
16 association.” Id. at 462.
17         20.    No matter the beliefs advanced, be they “political, economic, religious or
18 cultural,” “state action which may have the effect of curtailing the freedom to
19 associate is subject to the closest scrutiny.” Id. at 460-61. Thus, to require disclosure
20 of an association’s membership lists, the government must have a compelling
21 justification for such an infringement on the right of free association. Id.
22         21.    The First Amendment prohibits government retaliation for exercising
23 one’s right to engage in protected speech or association. “To bring a First
24 Amendment retaliation claim, the plaintiff must allege that (1) it engaged in
25 constitutionally protected activity; (2) the defendant’s actions would “chill a person
26 of ordinary firmness” from continuing to engage in the protected activity; and (3) the
27 protected activity was a substantial motivating factor in the defendant’s conduct—
28 i.e., that there was a nexus between the defendant’s actions and an intent to chill
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 7 of 21 Page ID #:7



 1 speech.” Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d 858 (9th Cir. 2016).
 2         22.   To prevail on a First Amendment Retaliation claim, “a plaintiff need
 3 only show that the defendant “intended to interfere” with the plaintiff’s First
 4 Amendment rights and that it suffered some injury as a result; the plaintiff is not
 5 required to demonstrate that its speech was actually suppressed or inhibited.”
 6 Mendocino Envtl. Ctr. v. Mendocino County, 192 F.3d 1283, 1300 (1999).
 7 II.     THE FOURTEENTH AMENDMENT RIGHT TO EQUAL PROTECTION
 8         23.   The Fourteenth Amendment to the United States Constitution provides
 9 that no state shall deny to any person within its jurisdiction the equal protection of the
10 laws. U.S. Const. amend. XIV.
11         24.   Generally, equal protection is based on protected classes of persons who
12 are similarly situated; however, individuals who suffer irrational and intentional
13 discrimination or animus can bring claims of equal protection where the government
14 is subjecting only the plaintiff to differing and unique treatment compared to others
15 who are similarly situated, Engquist v. Ore. Dep’t of Agric., 553 U.S. 591 (2008),
16 even if not based upon group characteristics, Village of Willowbrook v. Olech, 528
17 U.S. 562 (2000).
18         25.   Further, disparate treatment under the law, when one is engaged in
19 activities that are fundamental rights, is actionable under the Equal Protection Clause,
20 Police Dep’t of Chic. v. Mosley, 408 U.S. 92 (1972); Carey v. Brown, 447 U.S. 455
21 (1980).
22         26.   “Because the right to engage in political expression is fundamental to
23 our constitutional system, statutory classifications impinging upon that right must be
24 narrowly tailored to serve a compelling governmental interest.” Austin v. Mich.
25 Chamber of Commerce, 494 U.S. 652, 666 (1990), rev’d on other grounds, Citzs.
26 United v. Fed. Elec. Comm’n, __ U.S. __, 130 S. Ct. 876 (2010).
27 III.    FACTUAL ALLEGATIONS
28         27.  NRA, like many membership organizations, provides incentives to its
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 8 of 21 Page ID #:8



 1 members through corporate partners. It has a diverse pool of sponsors, ranging from
 2 large, national corporations that offer affinity discount programs to smaller, local
 3 retailers and firearm trainers who donate their employees’ time to build the NRA’s
 4 membership base and share information about NRA’s programs and advocacy work.
 5         28.   NRA raises funds from its individual members and community partners
 6 to keep its programs viable and to continue speaking out on issues concerning its
 7 constituents. It relies on membership dues and donations to compete with well-funded
 8 groups that advocate opposing messages.
 9         29.   The state of California has one of the most rigorous regulatory schemes
10 for gun policy and the commerce of firearms of any state in the nation. Many of
11 California’s larger cities nonetheless compete to be “leaders” in gun control, passing
12 ever-expanding restrictions on the lawful acquisition, ownership, and possession of
13 firearms and ammunition. Los Angeles is among these cities. Indeed, it is frequently
14 the target of gun control groups whose goal is to limit the rights of gun owners. And
15 City officials regularly oblige, championing a broad gun-control agenda and
16 supporting the work of anti-gun groups.
17         30.   Many NRA supporters and members disagree with the sweeping gun-
18 control policies the City seeks to implement. NRA thus stands in the gap for its
19 members and supporters who see no other group with comparable ability to promote
20 their pro-Second Amendment beliefs, including belief in the right to self-defense.
21         31.   Intending to silence NRA’s voice, as well as the voices of all those who
22 dare oppose the City’s broad gun-control agenda, the City adopted Ordinance No.
23 186000 (“the Ordinance”), requiring all current and prospective City contractors to
24 disclose any “sponsorship” of or “contract” with NRA.
25         32.   Through the Ordinance, the City hopes to pressure NRA supporters and
26 members to end their relationships with NRA, reducing NRA’s funding and support.
27 Indeed, the City’s goal is to diminish NRA’s political contributions, its membership
28 numbers, and ultimately its pro-Second Amendment speech.
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          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 9 of 21 Page ID #:9



 1         33.   Some City councilmembers have claimed that the Ordinance is not
 2 meant to deny anyone a contract with the City, but to expose those that support NRA
 3 because residents “deserve to know.”2 Even if that were a legitimate goal, it is clearly
 4 not the Ordinance’s true intent. As one councilmember put it, the City “should have
 5 the ability to make decisions about whether we want to do business with companies
 6 that feel that they can profit from what the NRA is doing throughout our country.”
 7 Krekorian Remarks, supra, at 1:37:33.
 8         34.   City councilmembers have made disparaging, false, and hyperbolic
 9 statements about NRA and its supporters, suggesting that the organization is doing
10 something unlawful or immoral. Indeed, Councilmember Mitchell O’Farrell, the
11 Ordinance’s sponsor, has repeatedly called on the City to “rid itself” of those
12 associated with NRA and labelled the NRA an “extremist” and “white supreme [sic]
13 peddling” group. Los Angeles City Council, Budget & Finance Committee, Motion
14 (Mar. 28, 2018), available at http://clkrep.lacity.org/onlinedocs/2018/18-
15 0262_mot_03-28-2018.pdf (a true and correct copy is attached hereto as Exhibit 2);
16 O’Farrell Remarks, supra, at 1:33:39—1:35:24.
17         35.   The City has a history of pressuring businesses that seek to do business
18 with the City to end relationships with NRA. For example, Councilmember O’Farrell
19 and the City held up a contract with FedEx because of its ties to NRA. When FedEx
20 announced that it had ended its affinity program for NRA members, O’Farrell took a
21 victory lap, announcing that he had “told @FedEx executives earlier this year, ‘there
22 is no high road in doing business with the @NRA.” He thanked FedEx for “realizing
23         2
              Los Angeles City Council, Budget & Finance Committee, Motion (Sept. 21,
24   2018), available at http://clkrep.lacity.org/onlinedocs/ 2018/18-0896_mot_09-21-
     2018.pdf (a true and correct copy is attached hereto as Exhibit 1); see also
25   Councilmember Mitchell O’Farrell, Remarks at Meeting of Los Angeles City Council
     at 1:34:22 (Feb. 12, 2019), available at http://lacity.granicus.com/MediaPlayer.
26   php?view_id=129&clip_id=18753 (hereafter referred to as “O’Farrell Remarks”);
     Councilmember Paul Krekorian, Remarks at Meeting of Los Angeles City Council at
27   1:37:30 (Feb. 12, 2019), available at http://lacity.granicus.com/MediaPlayer.
     php?view_id=129&clip_id=18753 (hereafter referred to as “Krekorian Remarks”);
28   see also Mayor Eric Garcetti, Official Twitter Account (@MayorOfLA), available at
     https://twitter.com/MayorOfLA?lang=en&lang=en
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              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 10 of 21 Page ID #:10



  1 their role in promoting violence & terror on American soil.” Councilmember Mitch
  2 O’Farrell, Official Twitter Account (@MitchOFarrell) (tweet from October 31,
  3 2018), available at https://twitter.com/MitchOFarrell?lang=en (a true and correct
  4 copy of relevant excerpts is attached hereto as Exhibit 3).
  5          36.   In March 2018, Councilmember O’Farrell introduced before the Budget
  6 & Finance Committee, a particularly egregious motion (“the March Motion”)
  7 expressing the urgent need to take action against the NRA and its supporters. Ex. 3
  8          37.   The March Motion targeted City contractors who also support and have
  9 a relationship with NRA, declaring that the “City should rid itself of its relationships
 10 with any organization that supports the NRA.” Ex. 3. The March Memo went on to
 11 suggest the action was necessary because of the “opposing stances of the NRA and
 12 the City.” Ex. 3.
 13          38.   The March Motion called for city staff to draft a report listing all
 14 organizations with formal ties to NRA. Ex. 3. It also asked the Chief Legislative
 15 Analyst to “report back with options for the City to immediately boycott those
 16 businesses and organizations until their formal relationship with the NRA ceases to
 17 exist.” Ex. 3.
 18          39.   On or about September 21, 2018, Councilmember O’Farrell, through a
 19 Motion to the Budget & Finance Committee, once again moved to force companies
 20 doing business with the City to disclose any formal relationships with NRA. The
 21 motion would direct “the City Attorney, with the assistance of the Bureau of Contract
 22 Administration, to prepare and present an ordinance directing any prospective
 23 contractor with the City of Los Angeles to disclose, under affidavit: (1) any contracts
 24 it or any of its subsidiaries has with the National Rifle Association; and (2) any
 25 sponsorship it or any of its subsidiaries provides to the National Rifle Association.”
 26 Ex. 1.
 27          40.   The motion spoke of the perceived advantage the NRA has in promoting
 28 its beliefs because of the financial support of businesses, members, and donors. Ex. 1.
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 11 of 21 Page ID #:11



  1 The motion did not address any public safety issues or concerns about the ability of
  2 the contractors to complete the contracts. Ex. 1.
  3         41.   At its regular meeting, held October 1, 2018, the Budget & Finance
  4 Committee considered O’Farrell’s motion and opened the floor to public comment.
  5 The committee adopted the motion and recommended City action. Attached hereto as
  6 Exhibit 4 is a true and correct copy of the Report from Budget & Finance Committee
  7 re: File No. 18-0896.
  8         42.   On or about October 10, 2018, the full City Council considered the
  9 Budget & Finance Committee’s report and motion. The City Council voted to adopt
 10 the report and instructed the Los Angeles City Attorney to draft an ordinance that
 11 would require all City contractors to disclose any formal ties to NRA. Attached
 12 hereto as Exhibit 5 is a true and correct copy of the October 10, 2018 Official Action
 13 of the Los Angeles City Council.
 14         43.   On January 18, 2019, the Los Angeles City Attorney presented draft
 15 Ordinance No. 186000 to the City Council. Attached hereto as Exhibit 6 is a true and
 16 correct copy of the January 18, 2018 letter from Chief Assistant City Attorney David
 17 Michaelson with the draft ordinance attached.
 18         44.   On or about February 4, 2019, the Budget & Finance Committee
 19 considered the City Attorney’s letter and draft ordinance “relative to amending the
 20 [Los Angeles Administrative Code] to require City contractors and potential City
 21 contractors to disclose all contracts with or sponsorship of the NRA.” The committee
 22 approved the City Attorney’s recommendation and forwarded the matter to the City
 23 Council. Attached hereto as Exhibit 7 is a true and correct copy of the February 4,
 24 2019 Budget & Finance Committee Report.
 25         45.    On or about February 12, 2019, the City Attorney presented the City
 26 Council with a slightly revised draft ordinance (correcting a misspelling of
 27 Pittsburgh). As drafted, the Ordinance would require all prospective City contractors
 28 to disclose in an affidavit any “sponsorship” of or contract with NRA. The Ordinance
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 12 of 21 Page ID #:12



  1 would also require City contractors to update their disclosures whenever they enter
  2 into a formal relationship with NRA.
  3         46.   The Ordinance passed unanimously on February 12, 2019. Attached
  4 hereto as Exhibit 8 is a true and correct copy of the February 13, 2019 Official Action
  5 of the Los Angeles City Council.
  6         47.   The City passed the Ordinance with little discussion. Though
  7 Councilmember O’Farrell took the time to declare his hatred for NRA and its efforts
  8 to oppose a broad gun-control agenda. During the council meeting, for instance,
  9 O’Farrell called the NRA an “extremist, white supreme-peddling” group that
 10 “peddle[s] in . . . violence and extremism.” O’Farrell Remarks, supra, at 1:32:39—
 11 1:34:38.
 12         48.   Los Angeles City Mayor Eric Garcetti signed the Ordinance into law on
 13 February 18, 2019. Ex. 8.
 14         49.   The Ordinance took effect on April 1, 2019. Attached hereto as Exhibit 9
 15 is Ordinance No. 186000 as adopted by the Los Angeles City Council on February
 16 12, 2019.
 17         50.   The Ordinance itself explicitly calls out NRA’s advocacy efforts on
 18 behalf of its members as an impediment to the City’s anti-Second Amendment
 19 agenda. Ex. 9.
 20         51.   The Ordinance claims that “the benefits and discounts the NRA arranges
 21 for its membership entices new members to join and existing members to renew their
 22 NRA membership,” generating millions of dollars in revenue for the “NRA agenda of
 23 opposing legislative efforts throughout the country.” Ex. 9.
 24         52.   The Ordinance also claims that “the NRA leadership, with the financial
 25 support of its dues paying members, continues to lobby against gun safety
 26 regulations.” Ex. 9.
 27         53.   The City generally adheres to specific criteria for awarding projects to
 28 contractors. These include the lowest and best bid, responsiveness to deadlines, and
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            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 13 of 21 Page ID #:13



  1 ability to meet defining, project-specific qualifications. The City further looks at a
  2 prospective contractor’s experience, qualifications, record of performance, financial
  3 capabilities, understanding of the scope of work, and best overall value. None of
  4 these criteria are related to a contractor’s political beliefs or associations.
  5         54.    The Ordinance has nothing to do with awarding contracts to the best
  6 candidates, fiduciary stewardship of public resources, or providing equal and open
  7 opportunities. Instead, it is about discriminating against a lawful organization and its
  8 members and supporters because the City does not approve of their political speech.
  9         55.    The City’s political pressure mirrors that of anti-NRA and anti-gun
 10 activists who demand that companies stop their support of NRA. The difference is
 11 that those are private people and organizations, and this is one of the largest cities in
 12 the country using its power to bully lawful businesses and individual members based
 13 on their political viewpoint.
 14         56.    Plaintiffs and others similarly situated are currently being harmed by the
 15 City’s unconstitutional conduct. Their rights of free speech and association are being
 16 chilled, as the Ordinance forces them to choose between their political beliefs and
 17 placating the City to secure work with the City.
 18         57.    Defendants’ conduct further attempts to compel speech of Plaintiffs and
 19 any potential contractors that support the NRA by mandating a written disclosure of
 20 their political affiliations with the intent to use that information against them.
 21         58.    Defendants’ actions seek to single out individuals and a particular group
 22 with disfavored speech and treat them differently from those contractors who are
 23 similarly situated, but which have political views the City finds palatable.
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              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 14 of 21 Page ID #:14



  1                               FIRST CAUSE OF ACTION
  2         Violation of Right to Freedom of Association Under U.S. Const., amend. I
  3                                      42 U.S.C. § 1983
  4                          (By All Plaintiffs Against All Defendants)
  5           59.   Plaintiff incorporates by reference paragraphs 1 through 58 of this
  6 Complaint as though fully set forth herein in their entirety.
  7           60.   By requiring Plaintiffs to disclose any sponsorship of or contract with
  8 Plaintiff NRA as a precondition for being awarded a City contract for goods or
  9 service, the Ordinance violates Plaintiffs’ right to association under the First
 10 Amendment, as incorporated through the Fourteenth Amendment.
 11           61.   The Ordinance violates Plaintiffs’ freedom of association by forcing
 12 them to publicly disclose affiliations that are disfavored by some, and which have no
 13 relation to the ability of a contractor to perform requested services or provide
 14 requested goods under a City contract.
 15           62.   The Ordinance, on its face and as applied or threatened to be applied,
 16 does not serve a compelling, significant, or legitimate governmental interest.
 17           63.   Even if the Ordinance served some sufficient government interest, it is
 18 neither narrowly tailored nor the least restrictive means to serve that purpose.
 19           64.   Defendants adopted and have enforced the unconstitutional Ordinance
 20 challenged here while acting under color of state law.
 21           65.   As a direct and proximate result of Defendants’ actions, Plaintiffs have
 22 suffered and continue to suffer irreparable injury for which there is not adequate
 23 remedy at law. Absent intervention by this Court, through declaratory and injunctive
 24 relief, Plaintiffs will continue to suffer this irreparable harm.
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               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 15 of 21 Page ID #:15



  1                              SECOND CAUSE OF ACTION
  2               Violation of Right to Free Speech Under U.S. Const., Amend. I
  3                                       42 U.S.C. § 1983
  4                          (By All Plaintiffs Against All Defendants)
  5         66.     Plaintiffs incorporate by reference paragraphs 1 through 65 of this
  6 Complaint as if fully set forth herein in their entirety.
  7         67.     Plaintiff NRA, on behalf of its millions of members and supporters,
  8 advocates for the preservation of the right to keep and bear arms by supporting or
  9 opposing legislation with the potential to impact its members’ civil rights. Plaintiff
 10 NRA thus engages in political speech and expression protected by the First
 11 Amendment.
 12         68.     Plaintiff Doe, through his association with and support of Plaintiff NRA,
 13 also engages in protected political speech and expressive conduct related to the
 14 preservation of the right to keep and bear arms.
 15         69.     Among Plaintiff NRA’s members are individuals and businesses,
 16 including Plaintiff Doe, that presently have or seek to obtain contracts with the City
 17 of Los Angeles to provide goods or services. Under the Ordinance, these members
 18 are required to disclose any sponsorship of or contract with Plaintiff NRA.
 19         70.     On its face, the Ordinance makes clear that its intention is to harm
 20 Plaintiff NRA by diminishing access to funding from members, sponsors, and
 21 supporters that fuels Plaintiff NRA’s political agenda.
 22         71.     The legislative history of the Ordinance is clear that the City intends to
 23 boycott businesses that sponsor or contract with Plaintiff NRA.
 24         72.     Defendants, through social media, committee reports, and on-the-record
 25 comments, have disparaged Plaintiff NRA and its supporters and have expressed their
 26 disdain for the organization simply because they disagree with Plaintiffs’ pro-Second
 27 Amendment viewpoint.
 28         73.  The Ordinance is an unconstitutional abridgment on its face, and as
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              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 16 of 21 Page ID #:16



  1 applied or threatened to be applied, of Plaintiffs’ affirmative rights to freedom of
  2 speech under the First Amendment, as incorporated through the Fourteenth
  3 Amendment.
  4         74.    The Ordinance, on its face and as applied or threatened to be applied,
  5 imposes an unconstitutional ideological litmus test for independent contractors,
  6 requiring that they disclose information about their political beliefs and associations.
  7         75.    The Ordinance, on its face and as applied or threatened to be applied, is
  8 a content-based and viewpoint-based restriction on speech.
  9         76.    The Ordinance, on its face and as applied or threatened to be applied,
 10 does not serve a compelling, significant, or legitimate governmental interest.
 11         77.    Even if the Ordinance served some sufficient government interest, it is
 12 neither narrowly tailored nor the least restrictive means to serve that purpose.
 13         78.    The Ordinance, on its face and as applied or threatened to be applied, is
 14 an overbroad restriction on expressive activity.
 15         79.    The Ordinance, on its face and as applied or threatened to be applied, is
 16 unconstitutional because it seeks disclosure of Plaintiffs’ political beliefs and
 17 associations solely for the purpose of withholding government contracts.
 18         80.    Defendants have not only the authority to order investigations of
 19 businesses, but also to reject contracts with businesses, like Plaintiff Doe, that have
 20 ties to Plaintiff NRA. This constitutes a true threat of retaliation against Plaintiffs for
 21 exercising their First Amendment right to free speech.
 22         81.    The Ordinance does, in fact, chill the speech of current and prospective
 23 City contractors with ties to Plaintiff NRA. In fact, several contractors with ties to
 24 Plaintiff NRA refused to be named or to participate in this lawsuit, fearing that the
 25 City will retaliate against them and revoke or reject City contracts based on their
 26 relationship to NRA.
 27         82.    Defendants adopted and have enforced the unconstitutional Ordinance
 28 challenged here while acting under color of state law.
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            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 17 of 21 Page ID #:17



  1         83.    As a direct and proximate result of Defendants’ actions, Plaintiffs have
  2 suffered and continue to suffer irreparable injury for which there is not adequate
  3 remedy at law. Absent intervention by this Court, through declaratory and injunctive
  4 relief, Plaintiffs will continue to suffer this irreparable harm.
  5                               THIRD CAUSE OF ACTION
  6               Government Compelled Speech Under U.S. Const., amend. I
  7                                      42 U.S.C. § 1983
  8                         (By All Plaintiffs Against All Defendants)
  9         84.    Plaintiff incorporates by reference paragraphs 1 through 83 of this
 10 Complaint as though fully set forth herein in their entirety.
 11         85.    By requiring Plaintiffs to disclose any sponsorship of or contract with
 12 Plaintiff NRA as a precondition for being awarded a City contract for goods or
 13 service, the Ordinance violates Plaintiffs’ right to free speech under the First
 14 Amendment, as incorporated through the Fourteenth Amendment.
 15         86.    The Ordinance compels Plaintiffs to engage in speech they wish not to
 16 engage in. Specifically, the Ordinance compels the disclosure of their affiliation with
 17 Plaintiff NRA, an organization that engages in speech and other expressive activity
 18 relating to controversial political and social issues.
 19         87.    The Ordinance compels this speech of Plaintiffs even though the
 20 required disclosure has no connection to the goods to provided or the services to be
 21 rendered under the City’s contracts.
 22         88.    Defendants intend, through compelled disclosure of Plaintiffs’ political
 23 affiliation with NRA, to place undue social pressure on Plaintiffs and to diminish
 24 open discussion regarding the Second Amendment.
 25         89.    The Ordinance, on its face and as applied or threatened to be applied,
 26 does not serve a compelling, significant, or legitimate governmental interest.
 27         90.    Even if the Ordinance served some sufficient government interest, it is
 28 neither narrowly tailored nor the least restrictive means to serve that purpose.
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 18 of 21 Page ID #:18



  1         91.    Defendants adopted and have enforced the unconstitutional Ordinance
  2 challenged here while acting under color of state law.
  3         92.    As a direct and proximate result of Defendants’ actions, Plaintiffs have
  4 suffered and continue to suffer irreparable injury for which there is not adequate
  5 remedy at law. Absent intervention by this Court, through declaratory and injunctive
  6 relief, Plaintiffs will continue to suffer this irreparable harm.
  7                             FOURTH CAUSE OF ACTION
  8    Retaliation for Protected Speech and Association Under U.S. Const., amend. I
  9                                      42 U.S.C. § 1983
 10                         (By All Plaintiffs Against All Defendants)
 11         93.    Plaintiff incorporates by reference paragraphs 1 through 92 of this
 12 Complaint as though fully set forth herein in their entirety.
 13         94.    Defendants have no only the authority to order investigations of
 14 individuals or businesses that associate with or speak on behalf of Plaintiff NRA, they
 15 also have the authority to disqualify those individuals or businesses from City
 16 contracts, invoking a true threat of retaliation against those individuals or businesses.
 17         95.    By requiring Plaintiffs to disclose any sponsorship of or contract with
 18 Plaintiff NRA as a precondition for being awarded a City contract for goods or
 19 service, the Ordinance would “chill a person of ordinary firmness” from continuing to
 20 associate with Plaintiff NRA through sponsorships or contracts, including paid
 21 membership in the organization.
 22         96.    On its face, the Ordinance makes clear that its intention is to harm
 23 Plaintiff NRA by diminishing access to funding from members, sponsors, and
 24 supporters that fuels Plaintiff NRA’s political agenda.
 25         97.    The legislative history of the Ordinance is clear that the City intends to
 26 boycott businesses that sponsor or contract with Plaintiff NRA.
 27         98.    Defendants, through social media, committee reports, and on-the-record
 28 comments, have disparaged Plaintiff NRA and its supporters and have expressed their
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          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 19 of 21 Page ID #:19



  1 disdain for the organization simply because they disagree with Plaintiffs’ pro-Second
  2 Amendment viewpoint.
  3         99.     There is a clear nexus between the Ordinance and Defendants’ intent to
  4 chill Plaintiffs’ speech.
  5         100. Defendants adopted and have enforced the unconstitutional Ordinance
  6 challenged here while acting under color of state law.
  7         101. As a direct and proximate result of Defendants’ actions, Plaintiffs have
  8 suffered and continue to suffer irreparable injury for which there is not adequate
  9 remedy at law. Absent intervention by this Court, through declaratory and injunctive
 10 relief, Plaintiffs will continue to suffer this irreparable harm.
 11                               FIFTH CAUSE OF ACTION
 12               Violation of Equal Protection Under U.S. Const., amend. XIV
 13                                      42 U.S.C. § 1983
 14                         (By All Plaintiffs Against All Defendants)
 15         102. Plaintiff incorporates by reference paragraphs 1 through 101 of this
 16 Complaint as though fully set forth herein in their entirety.
 17         103. Although Plaintiff operates a legal advocacy and political organization,
 18 just like the other groups that operate within the City of Los Angeles, Defendants are
 19 treating Plaintiffs unequally by requiring them to disclose political affiliations that
 20 have nothing to do with their ability to complete a given contract.
 21         104. Defendants’ requirement that political contractors disclose this affiliation
 22 or risk not being eligible for City contracts does not further any compelling
 23 government interest. Defendants’ claim that “residents and stakeholders deserve to
 24 know” is not a compelling government interest.
 25         105. The Ordinance’s mandate that contractors affiliated with Plaintiff NRA
 26 follow a separate set of disclosure rules than other contractors who are competing for
 27 the same contracts is a violation of Plaintiffs’ right to equal protection under the law
 28 because it is based on a “bare desire to harm a politically unpopular group.” U.S.
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           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 20 of 21 Page ID #:20



  1 Dep’t of Agric. v. Moreno, 413 U.S. 528, 534 (1973).
  2         106. Plaintiffs are being singled out for their political beliefs and speech.
  3 Indeed, other contractors not affiliated with Plaintiff NRA are not required to disclose
  4 their political beliefs or affiliations as part of the contractor bid process.
  5         107. The Ordinance, on its face and as applied or threatened to be applied,
  6 does not serve a compelling, significant, or legitimate governmental interest.
  7         108. Even if the Ordinance served some sufficient government interest, it is
  8 neither narrowly tailored nor the least restrictive means to serve that purpose.
  9         109. Defendants adopted and have enforced the unconstitutional Ordinance
 10 challenged here while acting under color of state law.
 11         110. As a direct and proximate result of Defendants’ actions, Plaintiffs have
 12 suffered and continue to suffer irreparable injury for which there is not adequate
 13 remedy at law. Absent intervention by this Court, through declaratory and injunctive
 14 relief, Plaintiffs will continue to suffer this irreparable harm.
 15                                  PRAYER FOR RELIEF
 16         Plaintiffs pray that the Court:
 17         1.     Enter a declaration that Ordinance No. 186000 violates the free speech
 18 rights of Plaintiffs under the First Amendment to the United States Constitution;
 19         2.     Enter a declaration that Ordinance No. 186000 violates the free speech
 20 rights of Plaintiff under the First Amendment of the United States Constitution
 21 because it constitutes compelled speech by the government;
 22         3.     Enter a declaration that Ordinance No. 186000 violates Plaintiffs’ right
 23 of free association under the First Amendment of the United States Constitution;
 24         4.     Enter a declaration that Ordinance No. 186000 violates Plaintiffs’ rights
 25 of free speech and association under the First Amendment of the United States
 26 Constitution because it constitutes government retaliation for engaging in protected
 27 conduct;
 28         5.   Enter a declaration that Ordinance No. 186000 violates Plaintiffs’ right
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              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:19-cv-03212-SVW-GJS Document 1 Filed 04/24/19 Page 21 of 21 Page ID #:21



  1 to equal protection under the Fourteenth Amendment to the United States
  2 Constitution;
  3        6.     Issue preliminary and permanent injunctive relief prohibiting
  4 Defendants, their employees, agents, successor, and assigns from enforcing or
  5 publishing Ordinance No. 186000;
  6        7.     Award damages according to proof;
  7        8.     Award reasonable costs and expenses, including attorney’s fees,
  8 pursuant to 42 U.S.C. § 1988 or other appropriate state or federal law; and
  9        9.     Any such relief the Court deems just and equitable.
 10
 11 Dated: April 24, 2019                         MICHEL & ASSOCIATES, P.C.
 12
 13                                               s/ Anna M. Barvir
                                                  Anna M. Barvir
 14                                               Counsel for Plaintiffs
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
